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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-237V
                                          UNPUBLISHED


    BONNIE DORR,                                                Chief Special Master Corcoran

                         Petitioner,                            Filed: August 26, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.

Linda Sara Renzi, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On February 12, 2019, Bonnie Dorr filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered to her on
October 14, 2017. Petition at 1. The case was assigned to the Special Processing Unit of
the Office of Special Masters.

       On March 24, 2020, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for her SIRVA. On August 26, 2020, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $63,990.00. Proffer
at 2. In the Proffer, Respondent represented that Petitioner agrees with the proffered

1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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award. Id. Based on the record as a whole, I find that Petitioner is entitled to an award as
stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $63,990.00 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS
___________________________________
                                    )
BONNIE DORR,                        )
                                    )
       Petitioner,                  )    No. 19-237V ECF
                                    )
              v.                    )    Chief Special Master Corcoran
                                    )
SECRETARY OF HEALTH                 )
AND HUMAN SERVICES,                 )
                                    )
       Respondent.                  )
___________________________________ )

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On February 12, 2019, Bonnie Dorr (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine Administration

(“SIRVA”), as defined in the Vaccine Injury Table, following administration of an influenza

vaccine she received on October 14, 2017. Petition at 1. On March 23, 2020, the Secretary of

Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that this case is

appropriate for compensation under the terms of the Act for a SIRVA Table injury, and on

March 24, 2020, the Chief Special Master issued a Ruling on Entitlement finding petitioner

entitled to compensation. ECF No. 17; ECF No. 18.

I.     Items of Compensation

       Respondent proffers that based on the evidence of record, petitioner should be awarded

$63,990.00 (consisting of $62,500.00 in pain and suffering, and $1,490.00 in past unreimbursed

expenses). This amount represents all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a)(1) and 15(a)(4). Petitioner agrees.
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II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $63,990.00, in the form of a

check payable to petitioner. This amount represents all elements of compensation to which

petitioner is entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

III.   Summary of Recommended Payments Following Judgment

A.     Lump Sum paid to petitioner, Bonnie Dorr: $63,990.00.

                                              Respectfully submitted,

                                              ETHAN P. DAVIS
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              CATHARINE E. REEVES
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Assistant Director
                                              Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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                                  /s/ Linda S. Renzi
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DATED: August 26, 2020




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